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                  EXHIBIT 1
1_1 Mail Business Strike 3 v Doe _ 2_17-cv-01731-TSZ Printout               https://mailxchange.1and1.com/appsuite/v=7.8.4-20./print.html?print_1...
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             J. Curtis Edmondson <jcedmondson@edmolaw.com>                                                        2/10/2018 9:29 AM

             Strike 3 v Doe / 2:17-cv-01731-TSZ
             To bcase@foxrothschild.com • Kiren Rockenstein <kirenr@edmolaw.com>


             Bryan,

             I represent John Doe subscriber assigned IP address 73.225.38.130. I would ask that you communicate with my
             office on all matters going forward with regard to this case. Please cc Kiren Rockenstein on all correspondence.

             I have read the complaint and the declarations. My client and his wife are willing to provide declarations that they
             did not download the films as alleged in your complaint. If that is acceptable, then I would like to provide your client
             with the opportunity to dismiss this action with prejudice and my client will waive costs.

             If you believe you still wish to pursue this case, then please provide my office with a copy of the certificates, the
             depository copies, the IPP .tar files, and the IPP .pcap files.

             In the event that you do not agree to dismiss with prejudice, I would also ask that you stipulate to a protective order
             that my client can proceed as a John Doe until final judgment is entered.

             In Best Regards,

             J. Curtis Edmondson, Patent Attorney
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                      Edmondson IP Law.bmp (201 KB)




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